                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:23-CV-00322-KDB-SCR


        TYRICKA LASHANDA
        SIMPSON,

               Plaintiff,

   v.                                                   ORDER

        ADAM MCCOY'S HAULING
        AND GRADING, INC.,

               Defendant.



        THIS MATTER is before the Court on Defendant’s Motion for Summary Judgment

(Doc. No. 72). The Court has carefully considered this motion and the parties’ briefs and

exhibits. For the reasons discussed below, the Court will DENY the motion.


                                 I.      LEGAL STANDARD

        Summary judgment is appropriate “if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.” United States

v. 8.929 Acres of Land in Arlington Cnty., Virginia, 36 F.4th 240, 252 (4th Cir. 2022) (quoting

Fed. R. Civ. P. 56(a)); see United States, f/u/b Modern Mosaic, LTD v. Turner Construction Co.,

et al., 946 F.3d 201, 206 (4th Cir. 2019). A factual dispute is considered genuine “if the evidence

is such that a reasonable jury could return a verdict for the nonmoving party.” Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 248 (1986); 8.929 Acres of Land, 36 F.4th at 252. “A fact is

material if it might affect the outcome of the suit under the governing law.” Id. (quoting

Libertarian Party of Va. v. Judd, 718 F.3d 308, 313 (4th Cir. 2013)). In determining if summary
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judgment is appropriate, “courts must view the evidence in the light most favorable to the

nonmoving party and refrain from weigh[ing] the evidence or mak[ing] credibility

determinations.” Variety Stores, Inc. v. Wal-Mart Stores, Inc., 888 F.3d 651, 659 (4th Cir. 2018)

(internal quotation marks omitted) (quoting Lee v. Town of Seaboard, 863 F.3d 323, 327 (4th

Cir. 2017)).

       The party seeking summary judgment bears the initial burden of demonstrating the

absence of a genuine issue of material fact through citations to the pleadings, depositions,

answers to interrogatories, admissions, or affidavits in the record. See Celotex Corp. v. Catrett,

477 U.S. 317, 323 (1986) (when the nonmoving party “has failed to make a sufficient showing

on an essential element of [his] claim with respect to which [he] has the burden of

proof,” summary judgment is warranted); United States ex rel. Gugenheim v. Meridian Senior

Living, LLC, 36 F.4th 173, 178 (4th Cir. 2022). If the movant satisfies his initial burden to

demonstrate “an absence of evidence to support the nonmoving party's case,” the burden shifts to

the nonmovant to “present specific facts showing that there is a genuine issue for trial.” 8.929

Acres of Land, 36 F.4th at 252 (quoting Humphreys & Partners Architects, L.P. v. Lessard

Design, Inc., 790 F.3d 532, 540 (4th Cir. 2015)). “The mere existence of some alleged factual

dispute between the parties will not defeat an otherwise properly supported motion

for summary judgment. Hixson v. Moran, 1 F.4th 297, 302 (4th Cir. 2021). Rather, the

nonmoving party must establish that a material fact is genuinely disputed by, inter alia, “citing to

particular parts of the materials of record” and cannot rely only on “conclusory allegations, mere

speculation, the building of one inference upon another, or the mere existence of a scintilla of

evidence.” Fed. R. Civ. P. 56(c)(1)(A); 8.929 Acres of Land, 36 F.4th at 252 (quoting Dash v.

Mayweather, 731 F.3d 303, 311 (4th Cir. 2013)). In the end, the relevant inquiry
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on summary judgment is “whether the evidence presents a sufficient disagreement to require

submission to a jury or whether it is so one-sided that one party must prevail as a matter of

law.” Anderson, 477 U.S. at 251–52.

                       II.    FACTS AND PROCEDURAL HISTORY

       According to her verified Complaint, Plaintiff was hired by Adam McCoy Hauling and

Grading, Inc. (“AMHGI”) in August 2021 as an over-the-road truck driver. Doc. No. 1-1

(“Compl.”) ⁋ A. In November 2021, Plaintiff resigned to take a higher paying position at another

company. Id. When she wished to return to AMHGI that December, she was rehired. Id. One

evening, in February 2022, she arrived at a warehouse in Houston, Texas. Id. at ⁋ B. While

driving to the front of the warehouse to find her assigned trailer, she saw a co-worker walking in

front of his tractor wearing only his underwear and penny loafers. Id. at ⁋ B(ii). Plaintiff used

Facetime to call another co-worker and showed him the “very odd and uncomfortable sight.” Id.

In the second co-worker’s affidavit, he reported that Plaintiff was not “bothered or stressed”

about the event and that she was “laughing while telling me about it.” Doc. No. 73-11 ⁋⁋ 15-17.

The second co-worker further noted that Plaintiff stated that she was not going to report the

incident and that he (the co-worker) shouldn’t either. Id. at ⁋ 17. At some point after Plaintiff

called the second co-worker, the mostly undressed co-worker, still shirtless, apologized to

Plaintiff for walking in front of her in his underwear. Compl. at ⁋ B(iii). Plaintiff finished her

work and then left to find a place to rest because she felt unsafe and uncomfortable staying at the

warehouse, which she otherwise would have done. Id. The second co-worker later called

AMHGI’s owner, Adam McCoy, to report what he had seen. Id. at ⁋ B(ii). The co-worker in his

underwear was reprimanded and written up for his behavior. Doc. 76-2 at 206.



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       Upon returning from a vacation during the week of February 21, 2022, Plaintiff

“followed up” on the incident and was told by the safety manager, Jonathan Jenkins, that her co-

worker had not meant to walk around half-naked in front of her. Compl. at ⁋ B(iv). Plaintiff

alleges that she never received any documentation of her complaint or evidence of disciplinary

action regarding the event. Id.

       Approximately two weeks after she returned to work and followed up on the encounter,

Plaintiff alleges that “the rules began to change.” Id. at ⁋ C. On March 9, 2022, Plaintiff received

a warning via text message from Mr. Jenkins that she could not place her driving log in a “yard

move”1 status while in traffic because “the D[epartment] O[f] T[ransportation] would shut her

down” and AMHGI might receive citations. Id. at ⁋⁋ C, C(i). On March 16, 2022, Mr. Jenkins

called Plaintiff and told her that she “could no longer use ‘personal conveyance’2 while under a

load.” Id. at ⁋ D. Plaintiff alleges she was confused because she was not advancing a load at the

time, but instead was waiting on a load, with the truck parked and no one in the driver’s seat. Id.;

Doc. No. 9-1 at 2.

       Two days later, on March 18, 2022, Plaintiff was met on the warehouse lot where she

parks her truck in Charlotte, North Carolina, by Mr. Jenkins and “Tommy,” Mr. McCoy’s

brother-in-law. Id. at ⁋ E. Mr. Jenkins informed Plaintiff that she was being terminated for

falsifying her driver logs by using yard move and personal conveyance at inappropriate times,



1
 In Plaintiff’s view, “yard move” is a status to be used “while in traffic and/or on a warehouse
yard.” Doc. No. 9-1 at 2.
2
  Plaintiff defines “personal conveyance” as a status that “stops the clock and begins a 10hr reset
for the commercial vehicle. This status can put the truck in personal use.” Doc. No. 9-1 at 2.


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for losing a second fuel cap, and for requiring the assistance of other employees to hook up

trailers at the Charlotte warehouse. Doc. No. 73-8.

       Plaintiff asked Mr. Jenkins whether her termination was related to her sexual harassment

complaint. Id. at ⁋ E(iii). He told her that her termination had no relation to the complaint but

then reiterated that her co-worker did not mean to walk in front of her half-naked. Id. Plaintiff

asked for the federal logs that would show her supposed violations, but Mr. Jenkins said he

“didn’t have [them] and would see what he could come up with.” Id. at ⁋ E(iv). Plaintiff then

filed claims of sexual harassment and retaliation with the Equal Employment Opportunity

Commission (“EEOC”). Id. at ⁋⁋ F, G. The EEOC dismissed her Charge with a no-cause finding

and issued a Right to Sue letter in February 2023. Id. at ⁋ G.

       Plaintiff initially filed this case in the Superior Court of Mecklenburg County, North

Carolina in April 2023, see Compl. at 1, and it was timely removed by Defendant to this Court in

May 2023. Doc. No. 1. She alleges that the Defendants engaged in (1) sexual harassment in

violation of Title VII of the Civil Rights Act of 1984 (“Title VII”) (42 U.S.C. § 2000e, et seq.),

(2) retaliatory discharge in violation of Title VII, and (3) retaliatory employment discrimination

in violation of North Carolina law (N.C. Gen. Stat § 95-240, et. seq.). Compl. at 1; ⁋ K. AMHGI

moved to dismiss Plaintiff’s claims, and the Court partially granted the motion, dismissing

claims (1) and (3). Doc. No. 7. Thus, the only remaining claim, which is the subject of this

Motion for Summary Judgment, is retaliatory discharge in violation of Title VII. Doc. No. 72.


                                      III.     DISCUSSION

       As discussed above, the only remaining claim in dispute is whether AMHGI retaliated

against Plaintiff when it terminated her employment on March 18, 2022, after she reported an


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incident of alleged sexual harassment in February 2022. Compl. at ⁋ B(ii). Under Title VII, an

employer may not retaliate against an employee for engaging in a protected activity. 42 U.S.C. §

2000(e)-3(a). Complaints, including those for sexual harassment, made through internal

company procedures are recognized as a protected activity. Roberts v. Glenn Indus. Grp., Inc.,

998 F.3d 111, 122 (4th Cir. 2021). Plaintiff therefore engaged in a protected activity when she

called safety manager Mr. Jenkins to report a co-worker for walking in front of her in only his

underwear and shoes. That the Court has determined the activity alleged by Plaintiff does not rise

to the level of unlawful sexual harassment is immaterial for the purposes of deciding if Plaintiff

can proceed on her distinct retaliation claim.3 See Strothers v. City of Laurel, 895 F.3d 317, 327

(4th Cir. 2018) (noting that Title VII’s anti-retaliation provision protects an employee even when

their complained of action is not actually unlawful, so long as at the time of their complaint, they

have an “objectively reasonable belief in light of the circumstances that a Title VII violation has

occurred.”) (quoting Boyer-Liberto v. Fontainebleau Corp., 786 F.3d 264, 277 (4th Cir. 2015)).

       At the summary judgment stage, a plaintiff alleging retaliation under Title VII can

establish a material factual dispute sufficient for trial through direct evidence of retaliatory

animus, or through circumstantial evidence using the burden shifting framework set forth in

McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802-04 (1973). See also Karpel v. Inova

Health Sys. Servs., 134 F.3d 1222, 1228 (4th Cir. 1998) (“The series of proofs and burdens

outlined in McDonnell Douglas apply to retaliation claims.”). Direct evidence “must demonstrate




3
  See Doc. Nos. 29, 32, for the Court’s explanation of why the conduct alleged did not rise to the
level of sexual harassment.


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that an adverse employment action was actually due to [a protected activity] as opposed to some

other lawful reason.” Sharif v. United Airlines, Inc., 841 F.3d 199, 205 (4th Cir. 2016).

        No direct evidence of retaliation has been proffered; therefore, the Plaintiff must proceed

through the McDonnell Douglas framework, which comprises three steps: “(1) the plaintiff must

establish a prima facie case of . . . retaliation; (2) if the plaintiff presents a prima facie case, then

the burden shifts to the defendant to show a legitimate . . . non-retaliatory reason for the adverse

employment action; and (3) if the defendant shows such a reason, then the burden shifts to the

plaintiff to prove that the reason is pretextual.” Sanders v. Tikras Tech. Sols. Corp., 725 F. App'x

228, 229 (4th Cir. 2018) (citing McDonnell Douglas, 411 U.S. at 802–04). At step three, pretext

can be proven “by showing that the explanation is unworthy of credence or by offering other

forms of circumstantial evidence sufficiently probative” of retaliation. Propst v. HWS Co., Inc.,

148 F. Supp. 3d 506, 527 (W.D.N.C. 2015) (quoting Dugan v. Albemarle Cnty. Sch. Bd., 293

F.3d 716, 721 (4th Cir. 2002)). If an employer offers inconsistent explanations or justifications

concerning its actions, then those inconsistencies are probative of pretext. Id. See also EEOC v.

Sears Roebuck & Co., 243 F.3d 846, 852–53 (4th Cir. 2001). However, “mere conjecture and

speculation” are inadequate to overcome a summary judgment motion. Id.

        Plaintiff has alleged a prima facie case of retaliation, as set out in the Magistrate Judge’s

Memorandum and Recommendation,4 which was adopted by the Court. Plaintiff made a sexual

harassment complaint after witnessing a colleague walking in front of her in just his underwear



4
 The Memorandum and Recommendation addressed Defendant’s motion to dismiss, which was
denied as to the retaliation claim based on Plaintiff’s verified and notarized allegations of sexual
harassment and retaliation. See Doc. No. 29; Compl. at 7-18.


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and shoes. Compl. ¶ C. The incident occurred in an unpopulated truck yard where Plaintiff would

normally sleep in her truck. Compl. ¶ B(iii). Plaintiff followed up with the safety manager about

the event about ten days after the incident. Compl. ¶ B(iv). Within two weeks of the follow up,

Plaintiff was written up for what she considered to be a routine and accepted practice (use of

yard move while in traffic). Compl. ¶ C. Then, despite changing her behavior—to conform with

the safety manager’s instructions—as related to yard move, she was reprimanded again a week

later for her use of a different driving designation, personal conveyance, and was subsequently

terminated two days after that for “numerous violations.” Compl. ¶ D.

       Because Plaintiff has alleged a prima facie case of retaliation under McDonnell Douglas,

the burden shifts to the Defendant to provide a legitimate, nonretaliatory reason for Plaintiff’s

termination. Defendant suggests that Plaintiff’s termination was related not to her sexual

harassment claim, but instead for her failures to follow company policy and federal regulations

(specifically, misuse of the driving designations yard move and personal conveyance) in

documenting her in-truck time. Defendant provides the following as evidence:

       •   On February 23, 2022, Plaintiff drove the truck 37 miles in yard move. Doc.
           No. 73 at 10.
       •   On February 24, 2022, Plaintiff drove the truck 70 miles on the highway in
           yard move and used personal conveyance to drive 128 miles. Id. at 10-11.
       •   On March 2, 2022, Plaintiff drove her truck 24 miles in yard move. Id. at 11.
       •   On March 3, 2022, Plaintiff drove her truck in personal conveyance for 131
           miles. Id.
       •   On March 4, 2022, Plaintiff drove her truck 9 miles in yard move. Id.
       •   On March 7, 2022, Plaintiff drove her truck 42 miles in yard move and used
           personal conveyance to drive 25 miles. Id.
       •   On March 9, 2022, Plaintiff drove her truck in traffic, with a load, in yard
           move. Safety Manager Mr. Jenkins sent a text message to Plaintiff on March
           9, 2022, instructing her that she was improperly using yard move while in
           traffic, and that such use could result in disciplinary action from the
           Department of Transportation (“DOT”). Id. See also Doc. 73-7 at 1-2.


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       Defendant also produced a copy of the employee write up dated March 16, 2022, that

coincided with Plaintiff’s termination, and lists the following as the reasons for termination:

       •   3/16/22 Falsified driver logs by showing Personal Conveyance and drove for
           123 [later corrected to 37] miles during shift time on PC. This has also been
           verbally addressed in the past with driver not using Yard Move and Personal
           Conveyance in accordance with FMCSA regulations.
       •   3/12/2022 driver lost fuel cap for the 2nd time which could lead to fuel
           splashing from tank and causing an environmental hazard.
       •   3/7/2022 driver used Yard Move for 54m17s and drove for 42 miles on the
           highway.
       •   3/2/2022 driver used Yard Move for 39 minutes and drove for 24 miles on the
           highway.
       •   2/24/22 driver used PC to further route and drove 136 miles.
       •   2/24/2022 drover [sic] used Yard Move and drove 70 miles on the highway.
       •   Driver also had to have assistance from other employees to hook up trailers at
           the [C]harlotte warehouse on multiple occasions. Driver must be able to hook
           and unhook trailers to fulfill their work obligations.
       •   Plan for Improvement: Due to multiple log violations employment is
           terminated on 3/18/2022.


Doc. No. 73-8 at 1-2.

       The Court finds that Defendant has asserted legitimate, nonretaliatory reasons for

Plaintiff’s termination. Thus, under McDonnell Douglas, the burden shifts back to Plaintiff to

provide evidence that Defendant’s reason for termination is pretextual. One such way to

demonstrate pretext at the summary judgment stage is through temporal proximity. “Generally,

temporal proximity standing alone is insufficient to establish a jury question regarding pretext.”

James v. City of Florence, D.S.C. No. 4:18-CV-1857-DCC-TER, 2019 WL 9341415, at *5

(D.S.C. Sept. 5, 2019), report and recommendation adopted, D.S.C. No. 4:18-CV-01857-SAL,

2020 WL 1983220 (D.S.C. Apr. 27, 2020), aff'd, 4th Cir. No. 20-1562, 2021 WL 5564676 (4th

Cir. Nov. 29, 2021) (citing Wagner v. Wheeler, 13 F.3d 86, 91 (4th Cir. 1983)). “However,

temporal proximity may still be considered when determining whether a plaintiff has established

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a jury question regarding pretext.” Id. (citing Reeves v. Sanderson Plumbing Prods., Inc., 530

U.S. 133, 143 (2000)). See, e.g., Carter v. Ball, 33 F.3d 450, 460 (4th Cir.

1994) (finding temporal proximity where an employee was demoted six weeks after a hearing on

his EEO complaint). As evidence of pretext, Plaintiff first asserts that she was terminated less

than one month after making the sexual harassment report. Notably, there is not one infraction on

the termination document dated prior to Plaintiff reporting her co-worker in his underwear. In

fact, the first time AMHGI provides evidence that the safety manager spoke with Plaintiff about

her conduct was on March 9, 2022, about two weeks after her report, when he told her that she

could no longer use yard move when in traffic. Doc. 76-2 at 27-28. On March 16, 2022, the

safety manager again spoke with Plaintiff, telling her for the first time about using personal

conveyance incorrectly. Id. at 76.

       Second, Plaintiff notes that she fully complied with both corrective action notices, and

based on Defendant’s termination notice, there were no documented incidences of improper yard

move after March 9, 2022, or personal conveyance after March 16, 2022. See Doc. No. 76-2 at

128. This suggests that Plaintiff modified her behavior as requested by AMHGI. Third, the

employer admits to knowing how Plaintiff used personal conveyance and yard move throughout

her entire employment. See Doc. No. 73 at 6-7 (“In his regular and periodic reviews of Plaintiff’s

logs . . . [he would] make proposed revisions . . . [t]hroughout the full course of Plaintiff’s

employment”). However, Defendant has provided no evidence that Plaintiff was ever

reprimanded or understood her actions to be in violation of company practices until she was

counseled—and rapidly terminated—after reporting sexual harassment. Indeed, Defendant’s

safety manager acknowledges that he revised Plaintiff’s timesheets—without any accompanying

corrective actions or discussion with Plaintiff—until March 9, 2022. This suggests that her
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driving practices were tolerated, if not ratified, by Defendant, and lends credence to her repeated

assertions that her usage of yard move and personal conveyance were accepted company

practice, even if they were not aligned with company policy or within federal regulations. Doc.

No. 76-2 at 64-68.

       In sum, taking these facts in the light most favorable to the Plaintiff, a reasonable jury

could interpret Plaintiff’s termination as pretextual. As such, there exists a genuine dispute as to

material facts and summary judgment will be denied accordingly.

                                         IV.     ORDER

       NOW THEREFORE IT IS ORDERED THAT:

           1. Defendant’s Motion for Summary Judgment (Doc. No. 72) is DENIED;

           2. This case shall proceed to trial on the merits in the absence of a voluntary
              resolution of the dispute among the parties.

SO ORDERED ADJUDGED AND DECREED.




                          Signed: December 3, 2024




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